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1    LAWRENCE G. BROWN
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3    501 I Street, Suite 10-100
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4    Telephone: (916) 554-2797
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7
8               IN THE UNITED STATES DISTRICT COURT FOR THE
9                        EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,        )
                                      )    CR. S-08-0454-JAM
12             Plaintiff,             )
                                      )   STIPULATION AND ORDER
13                                        CONTINUING STATUS CONFERENCE AND
          v.                          )   EXCLUDING TIME
14                                    )
     FELIX GARCIA-VALDEZ, et al.,     )
15                                    )
               Defendants.            )    Hon. John A. Mendez
16                                    )
17
18        The parties request that the status conference currently set
19   for March 24, 2009, be continued to March 31, 2009 at 9:30 a.m.
20   Defendants Felix Garcia-Valdez, Manuel Hernandez Moreno, Evodio
21   Hernandez-Moreno, Manuel Herrera-Osornio, Juan Luis Mendoza-
22   Corrales, Noe Garcia and their respective counsel stipulate that
23   the time beginning March 24, 2009, and extending through March
24   31, 2009, be excluded from the calculation of time under the
25   Speedy Trial Act.    The parties for these defendants submit that
26   the ends of justice are served by the Court excluding such time,
27   so that counsel for each defendant may have reasonable time
28   necessary for effective preparation, taking into account the

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1    exercise of due diligence.      18 U.S.C. § 3161(h)(8)(B)(iv); Local
2    Code T4.   As to defendants, Sixto Padilla-Gomez and Juan Adrian
3    Zarco-Gonzales, defense counsel does not stipulate to such time
4    exclusion.
5          The parties are in the process of discussing and negotiating
6    the various plea offers in this case.        Each defendant will need
7    time to consider his or her offer in light of the discovery.           As
8    such, the attorneys for each defendant need more time to review
9    the discovery in this case, discuss that discovery with their
10   respective clients, consider new evidence that may affect the
11   disposition of this case, conduct necessary legal research and
12   investigation, and then discuss with their clients how to
13   proceed.   The parties stipulate and agree that the interests of
14   justice served by granting this continuance outweigh the best
15   interests of the public and the defendants in a speedy trial.           18
16   U.S.C. § 3161(h)(8)(A).
17                                           Respectfully Submitted,
18                                           LAWRENCE G. BROWN
                                             Acting United States Attorney
19
20   Dated: March 13, 2009               By:/s/ Michael M. Beckwith
                                            MICHAEL M. BECKWITH
21                                          Assistant U.S. Attorney
22
     Dated: March 13, 2009               By:/s/ Matthew C. Bockmon
23                                          MATTHEW C. BOCKMON
                                            Attorney for defendant
24                                          FELIX GARCIA-VALDEZ
25
     Dated: March 13, 2009               By:/s/ Michael B. Bigelow
26                                          MICHAEL B. BIGELOW
                                            Attorney for defendant
27                                          MANUEL HERNANDEZ-MORENO
28   ///

                                         2
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1    ///
     Dated: March 13, 2009              By:/s/ Mark J. Reichel
2                                          MARK J. REICHEL
                                           Attorney for defendant
3                                          EVODIO HERNANDEZ-MORENO
4
     Dated: March 13, 2009              By:/s/ John R. Manning
5                                          JOHN R. MANNING
                                           Attorney for defendant
6                                          MANUEL HERRERA-OSORNIO
7
     Dated: March 13, 2009              By:/s/ Steven D. Bauer
8                                          STEVEN D. BAUER
                                           Attorney for defendant
9                                          JUAN LUIS MENDOZA-CORRALES
10
     Dated: March 13, 2009              By:/s/ Michael D. Long
11                                         MICHAEL D. LONG
                                           Attorney for defendant
12                                         JUAN ADRIAN ZARCO-GONZALES
13   Dated: March 13, 2009              By:/s/ Erin J. Radekin
                                           ERIN J. RADEKIN
14                                         Attorney for defendant
                                           SIXTO PADILLA-GOMEZ
15
     Dated: March 13, 2009              By:/s/ Michael L. Chastaine
16                                         MICHAEL L. CHASTAINE
                                           Attorney for defendant
17                                         NOE GARCIA-VALDEZ
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           Case 2:08-cr-00454-JAM Document 50 Filed 03/16/09 Page 4 of 4


1
                                      ORDER
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          For the reasons stated above, the status conference in case
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     number CR. S-08-0454-JAM, currently set for March 24, 2009, is
4
     continued to March 31, 2009 at 9:30 a.m.; time beginning March
5
     24, 2009, and extending through March 31, 2009, is excluded from
6
     the calculation of time under the Speedy Trial Act for effective
7
     defense preparation for defendants Felix Garcia-Valdez, Manuel
8
     Hernandez Moreno, Evodio Hernandez-Moreno, Manuel Herrera-
9
     Osornio, Juan Luis Mendoza-Corrales, Noe Garcia.         The Court finds
10
     that the interests of justice served by granting this continuance
11
     outweigh the best interests of the public and the defendants in a
12
     speedy trial.   18 U.S.C. § 3161(h)(8)(A) and (B)(iv).
13
14
     IT IS SO ORDERED.
15
16
     Dated: 3/13/2009
17                                            /s/ John A. Mendez
                                              JOHN A. MENDEZ
18                                            United States District Judge
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